 Case: 1:21-cv-06847 Document #: 63 Filed: 08/01/24 Page 1 of 7 PageID #:607
Case: 23-2823    Document: 00714417632           Filed: 08/01/2024   Pages: 7




                                        In the

              United States Court of Appeals
                          For the Seventh Circuit
                              ____________________
         No. 23-2823
         CHARLES VAVRA,
                                                           Plaintiff-Appellant,
                                          v.

         HONEYWELL INTERNATIONAL, INC.,
                                                          Defendant-Appellee.
                              ____________________

                  Appeal from the United States District Court for the
                    Northern District of Illinois, Eastern Division.
                     No. 1:21-cv-06847 — Jorge L. Alonso, Judge.
                              ____________________

                ARGUED MAY 21, 2024 — DECIDED JULY 10, 2024
                         ____________________

            Before SCUDDER, ST. EVE, and KIRSCH, Circuit Judges.
             KIRSCH, Circuit Judge. Honeywell International, Inc. re-
         quired its employees, including Charles Vavra, to complete
         online unconscious bias training. Vavra refused and was
         fired. He then sued, alleging that he was terminated in retali-
         ation for his opposition to the training and complaints about
         an email from the head of his business unit that he found of-
         fensive. The district court granted summary judgment in
 Case: 1:21-cv-06847 Document #: 63 Filed: 08/01/24 Page 2 of 7 PageID #:608
Case: 23-2823    Document: 00714417632           Filed: 08/01/2024   Pages: 7




         2                                                   No. 23-2823

         Honeywell’s favor. Because Vavra’s retaliation claims are
         meritless, we affirm.
                                         I
             On September 24, 2020, John Waldron, the President and
         CEO of Honeywell International, Inc.’s Safety and Productiv-
         ity Solutions unit, sent an email entitled “Continue to Fight
         for Social Justice” to all of his employees, including Charles
         Vavra. In the email, Waldron reacted to a grand jury’s deci-
         sion to not indict the police officers involved in the death of a
         Black woman, noting that he “can only imagine how our
         Black colleagues are feeling” and stressing, “Racial bias is
         real. Don’t kid yourself. Each of us has unconscious bias
         within us.” He then promised that the unit would “take tan-
         gible actions to make a difference,” including “listening ses-
         sions,” “upping our game when hiring ensuring 100% of the
         time that the interview panel and candidates are diverse,”
         and “other actions.” In conclusion, he remarked, “My hands
         and heart are open to each of our Black, Hispanic, Asian, and
         LGBTQ colleagues. I stand with you.” Vavra found this email
         to be racist and discriminatory, but he did not share his con-
         cerns with anyone at the time.
             In November, Honeywell’s Diversity, Equity, and Inclu-
         sion office rolled out an Unconscious Bias Awareness initia-
         tive. The initiative included mandatory, online unconscious
         bias training, which all Honeywell employees needed to com-
         plete by February 25, 2021. The announcement email con-
         tained a link to the training, which was around 20 to 30
         minutes long and entailed watching videos of different sce-
         narios with a quiz at the end.
 Case: 1:21-cv-06847 Document #: 63 Filed: 08/01/24 Page 3 of 7 PageID #:609
Case: 23-2823    Document: 00714417632           Filed: 08/01/2024   Pages: 7




         No. 23-2823                                                   3

            Vavra never clicked the link to access the training. Be-
         tween November and February, Vavra received several auto-
         mated reminders about the training, which became daily re-
         minders five days before the February deadline. After the
         deadline passed, the daily reminders continued, but Vavra
         did not complete the required training.
             Several individuals reached out to Vavra personally and
         asked him to complete the training. On March 2, Vavra’s di-
         rect supervisor, Jeffrey Cortez, emailed Vavra asking him to
         complete the training. Later that day, Vavra received an email
         from Katie Becker, Honeywell’s Human Resources Director,
         reminding him that the training was due and inquiring if
         there were any issues that prevented him from completing it.
         Vavra answered, “Yes, I do have issues completing this. I will
         be sending out an email shortly explaining why.”
             On March 8, Vavra sent an email detailing his objections
         to the training and Waldron’s September 24 email. He
         claimed that Waldron was “making his non-white colleagues
         all victims and turning his white colleagues … into villains,”
         and he asserted that neither “John Waldron nor anybody else
         gets to tell me I have unconscious bias.” Vavra also declared,
         “I AM NOT taking this training because it’s a joke, and I’ll use
         John Waldron’s email as proof of it.” Becker replied to Vavra,
         promising to review his objections, and she shared his con-
         cerns with others in HR.
             Honeywell continued to send Vavra automated daily re-
         minders about the training, and his superiors urged him to
         take the training, but he maintained his refusal. After Vavra’s
         March 8 email, Cortez spoke with Vavra about the training
         and told him that he did not perceive it as racist, noting that
         it included a video of a situation in which a white male is
 Case: 1:21-cv-06847 Document #: 63 Filed: 08/01/24 Page 4 of 7 PageID #:610
Case: 23-2823    Document: 00714417632           Filed: 08/01/2024   Pages: 7




         4                                                 No. 23-2823

         subjected to unconscious bias. Chris Maines, the Vice Presi-
         dent of Engineering, also met with Vavra and encouraged
         him to complete the training, emphasizing that failing to do
         so would be considered insubordination. On March 23, in re-
         sponse to Maines asking him if he had changed his mind
         about the training, Vavra sent an email reiterating his refusal
         and stressing, “Whatever the consequences are of that deci-
         sion [to refuse], I will accept.” Vavra also remarked that he
         “found John Waldron’s 9/24 [email] incredibly offensive, dis-
         criminatory and racist” and requested that his email be “con-
         sidered an ‘official’ discrimination claim.” Because he never
         viewed the training and did not know its content, his objec-
         tions were based on what he thought the training would be
         like given Waldron’s email, noting that he did not want to be
         “‘trained’ to be someone like” Waldron.
             On March 30, Vavra emailed Becker requesting a meeting
         to discuss where things stood as to his position on the train-
         ing. Cortez then scheduled a call with Vavra and Becker for
         April 7. Before the meeting, Cortez pleaded, “Chuck, are you
         sure you won’t take the training?” But Vavra remained stead-
         fast in his refusal. During the meeting, Cortez informed Vavra
         that he would be terminated unless he took the training.
         Vavra confirmed that he would not do so, and he was termi-
         nated.
             Vavra sued Honeywell, alleging retaliation in violation of
         Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e et
         seq., and the Illinois Human Rights Act, 775 ILCS 5/1-101, et
         seq. Honeywell moved for summary judgment, which the
         district court granted. Vavra now appeals.
 Case: 1:21-cv-06847 Document #: 63 Filed: 08/01/24 Page 5 of 7 PageID #:611
Case: 23-2823    Document: 00714417632           Filed: 08/01/2024   Pages: 7




         No. 23-2823                                                   5

                                        II
             We review the district court’s grant of summary judgment
         de novo. Rongere v. City of Rockford, 99 F.4th 1095, 1102 (7th
         Cir. 2024). To prevail on a Title VII or IHRA retaliation claim,
         Vavra must prove: (1) he engaged in activity protected by the
         statute; (2) he suffered an adverse employment action; and
         (3) a causal link between the protected activity and the ad-
         verse action. Id. at 1104. We agree with the district court that
         his opposition to the training was not protected activity and,
         even if his objections to Waldron’s email were protected ac-
         tivity (which we need not decide), he failed to establish a
         causal connection between those objections and his termina-
         tion.
                                        A
             For an employee’s protests of an employer’s actions to be
         protected from retaliation by Title VII (or the IHRA), the em-
         ployee must have “an objectively reasonable belief that the ac-
         tion [he] opposed violated the law.” Id. This makes sense. To
         permit otherwise would “encourage the ﬁling of utterly base-
         less charges by preventing employers from disciplining the
         employees who made them.” Holland v. Jeﬀerson Nat. Life Ins.
         Co., 883 F.2d 1307, 1315 (7th Cir. 1989) (quotation omitted).
             For that same reason, we hold that an employee must have
         some knowledge of the conduct he is opposing for his belief
         to be objectively reasonable. Here, that means Vavra must
         have held an objectively reasonable belief that the training vi-
         olated the law based on his knowledge of its contents. But
         Vavra had no such knowledge because he never accessed the
         training or otherwise discovered what it entailed, so his belief
         that it violated Title VII or the IHRA could not have been
 Case: 1:21-cv-06847 Document #: 63 Filed: 08/01/24 Page 6 of 7 PageID #:612
Case: 23-2823    Document: 00714417632           Filed: 08/01/2024   Pages: 7




         6                                                        No. 23-2823

         objectively reasonable. Vavra assumed, based on Waldron’s
         email, that the training would vilify white people and treat
         people diﬀerently based on their race. But that presumption
         is purely speculative and insuﬃcient to make his belief objec-
         tively reasonable, especially because there is no indication
         Waldron had any involvement in creating or selecting the
         training’s contents. Moreover, the only reliable information
         Vavra had regarding the contents of the training contradicted
         his assumptions. His supervisor, Cortez, who had taken the
         training, told Vavra that it was not racist and featured a white
         victim of unconscious bias. A belief is not objectively reason-
         able if it requires rejecting such concrete information in favor
         of conjecture.
                                           B
             Even if Vavra’s complaints about Waldron’s email were
         protected activity, he failed to demonstrate a causal connec-
         tion between the complaints and his termination. To establish
         causation, Vavra must “oﬀer evidence that a retaliatory mo-
         tive was a ‘but-for cause of the challenged employment ac-
         tion.’” Lesiv v. Ill. Cent. R.R. Co., 39 F.4th 903, 915 (7th Cir. 2022)
         (quotation omitted).
             In an attempt to prove Honeywell’s retaliatory motive,
         Vavra ﬁrst argues that it failed to follow its own policies when
         investigating his complaints. Indeed, “[a]n employer’s unu-
         sual deviation from standard procedures” can be circumstan-
         tial evidence of retaliatory intent, Baines v. Walgreen Co., 863
         F.3d 656, 664 (7th Cir. 2017), but Honeywell did not fail to fol-
         low its policy that it will promptly and thoroughly investigate
         all reports. Honeywell had what it needed to thoroughly in-
         vestigate Vavra’s complaint: Waldron’s email. And Becker’s
         response to Vavra’s complaints and her subsequent
 Case: 1:21-cv-06847 Document #: 63 Filed: 08/01/24 Page 7 of 7 PageID #:613
Case: 23-2823    Document: 00714417632           Filed: 08/01/2024   Pages: 7




         No. 23-2823                                                    7

         discussions with others in HR about his concerns satisﬁed the
         policy.
             Vavra also argues that the timing of his termination was
         suspicious. Recall that he was ﬁred on April 7, around a
         month after his March 8 email and two weeks after his March
         23 email, which both complained about Waldron’s email. But
         evidence of suspicious timing, alone, is “generally insuﬃcient
         to establish a retaliatory motivation.” Jokich v. Rush Univ. Med.
         Ctr., 42 F.4th 626, 634 (7th Cir. 2022). Further, “any inference
         of causation supported by temporal proximity may be ne-
         gated by circumstances providing an alternative explanation
         for the challenged action.” Id. That is the case here. Honeywell
         earnestly and repeatedly sought Vavra’s compliance with the
         training requirement, and it was only upon his ﬁnal, absolute
         refusal to take the training that it decided to terminate him.
         This alternate basis for his termination belies any inference
         that he was discharged for his complaints about Waldron’s
         email.
                                                               AFFIRMED
